Case 9:08-cv-80893-KAM Document 214-3 Entered on FLSD Docket 09/02/2010 Page 1 of 10
Case 9:08-cv-80893-KAM Document 214-3 Entered on FLSD Docket 09/02/2010 Page 2 of 10
Case 9:08-cv-80893-KAM Document 214-3 Entered on FLSD Docket 09/02/2010 Page 3 of 10
Case 9:08-cv-80893-KAM Document 214-3 Entered on FLSD Docket 09/02/2010 Page 4 of 10
Case 9:08-cv-80893-KAM Document 214-3 Entered on FLSD Docket 09/02/2010 Page 5 of 10
Case 9:08-cv-80893-KAM Document 214-3 Entered on FLSD Docket 09/02/2010 Page 6 of 10
Case 9:08-cv-80893-KAM Document 214-3 Entered on FLSD Docket 09/02/2010 Page 7 of 10
Case 9:08-cv-80893-KAM Document 214-3 Entered on FLSD Docket 09/02/2010 Page 8 of 10
Case 9:08-cv-80893-KAM Document 214-3 Entered on FLSD Docket 09/02/2010 Page 9 of 10
Case 9:08-cv-80893-KAM Document 214-3 Entered on FLSD Docket 09/02/2010 Page 10 of
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